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               ORDERED in the Southern District of Florida on June 3, 2019.




                                                                            A. Jay Cristol, Judge
                                                                            United States Bankruptcy Court
_____________________________________________________________________________




                                         UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                        www.flsb.uscourts.gov

     In re: Rosalina Delgado                                          Case No. 19-10879-AJC

                                                                      Chapter 13

                             Debtor(s)    /

      ORDER SUSTAINING DEBTOR’S OBJECTION TO CLAIM OF JPMORGAN CHASE BANK, N.A.

             This matter having been considered without hearing upon the Debtor's Objection to Claim[s] of JPMorgan Chase
    Bank, N.A .[DE #__41__], and the objector by submitting this form order having represented that the objection was served
    on the parties listed below, that the 30-day response time provided by Local Rule 3007-1(D) has expired, that no one listed
    below has filed, or served on the objector, a response to the objection, and that the relief to be granted in this order is the
    identical relief requested in the objection, and this court having considered the basis for the objection to the claim, it is

    ORDERED that Debtor's objection to the following claim is sustained:

    Claim holder                                      Claim No.

    JPMorgan Chase Bank, N.A.                         10

    Disposition: The claim is allowed as filed with no distribution from the chapter 13 Trustee.




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Submitted by:
Robert Sanchez, P.A.,
355 W 49 ST,
Hialeah, FL 33012
(305) 687-8008

Robert Sanchez, P.A shall serve a copy of the signed order on all required parties and file with the court a certificate of
service conforming with Local Rule 2002-1(F).




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